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 4                                   UNITED STATES DISTRICT COURT
 5                                            DISTRICT OF NEVADA
 6                                                      ***
 7      UNITED STATES OF AMERICA,                                  Case No. 2:16-cr-00046-GMN-PAL
 8                                              Plaintiff,
               v.                                                              ORDER
 9
        STEVEN A. STEWART                                        (Ex Parte Mot. Subpoena – ECF No. 867)
10
                                              Defendants.
11

12            This matter is before the court on Defendant Steven A. Stewart’s Ex Parte Motion for
13     Subpoena Duces Tecum (ECF No. 867). Having reviewed and considered the matter pursuant to
14     Rule 17 of the Federal Rules of Criminal Procedure, the court finds that Mr. Stewart has met his
15     burden of establishing the need for pretrial production of the materials described in the Motion.
16     Although the court finds good cause for Stewart’s Motion to remain ex parte and under seal, the
17     Motion provides no justification for issuance of an ex parte subpoena giving him exclusive pretrial
18     access to the documents he seeks. The court will therefore direct issuance of the subpoena duces
19     tecum directing the custodian of records for the agency to produce the designated items to the
20     Clerk of the Court by December 23, 2016. Upon receipt of the documents, the Clerk shall notify
21     counsel for the parties that the documents are available for inspection and copying.
22            Accordingly,
23            IT IS ORDERED:
24                  1. Defendant Steven A. Stewart’s Ex Parte Motion for Subpoena Duces Tecum (ECF
25                     No. 867) is GRANTED, and shall remain ex parte and under seal.
26                  2. The Clerk of the Court shall issue the attached subpoena, conforming to the court’s
27                     instructions herein, and deliver a copy of this Order and the subpoena to the U.S.
28                     Marshal for service.
                                                             1
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 1              3. The custodians of records shall produce and forward records responsive to the

 2                  subpoena by December 23, 2016, along with a copy of this Order, to:

 3                  Clerk of Court
 4                  United States District Court for the District of Nevada
                    333 Las Vegas Blvd., South
 5                  Las Vegas, Nevada 89101
 6              4. Upon receipt of the records, the Clerk of Court shall notify counsel for the parties

 7                  that the documents are available for inspection and copying.

 8              5. The cost of process, fees, and expenses for the subpoena shall be paid as if

 9                  subpoenaed on behalf of the government, the Court being satisfied that Defendant

10                  Steven A. Stewart is financially unable to pay the fees and expenses.

11           Dated this 14th day of October, 2016.
12

13                                                        PEGGY A. LEEN
                                                          UNITED STATES MAGISTRATE JUDGE
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AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                               District
                                                        __________      of Nevada
                                                                   District  of __________
                   United States of America                                       )
                              v.                                                  )
                     STEVEN STEWART                                               )   Case No. 2:16-cr-00046-GMN-PAL
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:
         United States Department of the Interior--National Park Service
         601 Nevada Way
         Boulder City, NV 89005


         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
 below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
 allows you to leave.
 Place of Appearance: Lloyd D. George - U.S. Federal Court                            Courtroom No.:    Honorable Judge Leen
                              333 Las Vegas Boulevard
                              Las Vegas, NV 89101
                                                                                      Date and Time: 12/23/2016 03:00

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
 applicable):
             This is a subpoena duces tecum. Therefore, the materials requested below (Ex.A) shall be delivered to the
clerk of the court no later than the date and time noted above, who shall notify counsel for the parties that the documents
are available for inspection and copying.




 Date:
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



 The name, address, e-mail, and telephone number of the attorney representing (name of party)                            Steven Stewart
                                        , who requests this subpoena, are:
 Tanasi Law Offices
 601 South Seventh Street, Floor 2
 Las Vegas, NV 89101
 702-906-2411
 rtanasi@tanasilaw.com
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AO 89 (Rev. 01/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 2:16-cr-00046-GMN-PAL

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          ’ I personally served the subpoena on the individual at (place)
                                                                                      on (date)                                    ; or

          ’ I left the subpoena at the individual’s residence or usual place of abode with (name)
                                                                              , a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual’s last known address; or

          ’ I served the subpoena on (name of individual)                                                                                   , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because                                                                                            ; or

          ’ Other (specify):
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00           .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




         Print                         Save As...                    Add Attachment                                                       Reset
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  Ex. A.

       (1) the National Park Service (“NPS”) use of force
  polices and procedures as it pertains to all officers, rangers,
  and/or special agents trained on or before April 12, 2014
  and present at the Bunkerville, Nevada standoff that is the
  subject of the Superseding Indictment [Doc. 27] in this case;
       (2) the NPS’s official duties as it pertains to all officers,
  rangers, and/or special agents present at the present at the
  Bunkerville, Nevada standoff, on April 12, 2014 that is the
  subject of the Superseding Indictment [Doc. 27] in this case.
